                                               United States Bankruptcy Court
                                                 Northern District of Ohio
In re:                                                                                                     Case No. 17-17361-aih
Richard M. Osborne                                                                                         Chapter 11
         Debtor
                                                 CERTIFICATE OF NOTICE
District/off: 0647-1                  User: mgaug                        Page 1 of 2                          Date Rcvd: Jun 04, 2018
                                      Form ID: pdf801                    Total Noticed: 13


Notice by first class mail was sent to the following persons/entities by the Bankruptcy Noticing Center on
Jun 06, 2018.
db             +Richard M. Osborne,    7265 Markell Road,    Waite Hill, OH 44094-9312
aty            +Gregory M. Dennin,   Dennin & Dennin,     2745 Main Street,    Lake Placid, NY 12946-3559
cr             +CSX Transportation, Inc.,    c/o McGuireWoods LLP,    50 N. Laura Street, Suite 3300,
                 Jacksonville, FL 32202-3661
cr             +Chicago Title Insurance Company,    2533 North 117th Avenue,     Omaha, NE 68164-3679
cr              Citizens Bank, N.A.,    c/o Michael S. Tucker, Esq.,    1660 West 2nd Street, Suite 1100,
                 Cleveland, OH 44113-1448
cr             +Estate of Jerome T. Osborne,    c/o Kirk W. Roessler, Esq.,     1301 East Ninth Street Suite 3500,
                 Cleveland, OH 44114-1838
cr             +First National Bank of Pennsylvania,     c/o Buckingham, Doolittle & Burroughs,
                 1375 East 9th Street Suite 1700,     Cleveland, OH 44114-1790
               +Lake County Title, LLC,    Attn: Thomas R. Flenner, President,     306 High Street,
                 Fairport Harbor, OH 44077-5829
intp           +Lakeland Community College,    c/o Alison L. Archer,    Assistant Attorney General,
                 615 W. Superior Ave.,    11th Floor,    Cleveland, OH 44113-1899
cr             +Michael E. Osborne, Sr.,    7670 Tyler Blvd.,    Mentor, OH 44060-4853
cr             +Ohio Department of Taxation,    c/o William C. Huffman,     24441 Detroit Road, Suite 300,
                 Westlake, OH 44145-1543
cr             +The Huntington National Bank,    c/o Timothy P. Palmer, Esq.,     Buchanan Ingersoll & Rooney PC,
                 One Oxford Centre 20th floor,    Pittsburgh, PA 15219-1400

Notice by electronic transmission was sent to the following persons/entities by the Bankruptcy Noticing Center.
intp           +E-mail/Text: ecf@buckleyking.com Jun 04 2018 22:00:25     Zachary B Burkons,
                 c/o Buckley King LPA,   600 Superior Ave., Suite 1400,   Cleveland, OH 44114-2693
                                                                                             TOTAL: 1

             ***** BYPASSED RECIPIENTS (undeliverable, * duplicate) *****
cr                Bank of America, N.A.
cr                Mentor Lumber & Supply Co.
cr                Tax Ease Ohio, LLC
*                +Richard M. Osborne,   7265 Markell Rd,   Waite Hill, OH 44094-9312
                                                                                                                    TOTALS: 3, * 1, ## 0

Addresses marked ’+’ were corrected by inserting the ZIP or replacing an incorrect ZIP.
USPS regulations require that automation-compatible mail display the correct ZIP.

Transmission times for electronic delivery are Eastern Time zone.


I, Joseph Speetjens, declare under the penalty of perjury that I have sent the attached document to the above listed entities in the manner
shown, and prepared the Certificate of Notice and that it is true and correct to the best of my information and belief.
Meeting of Creditor Notices only (Official Form 309): Pursuant to Fed. R. Bank. P. 2002(a)(1), a notice containing the complete Social
Security Number (SSN) of the debtor(s) was furnished to all parties listed. This official court copy contains the redacted SSN as required
by the bankruptcy rules and the Judiciary’s privacy policies.
Date: Jun 06, 2018                                            Signature: /s/Joseph Speetjens

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                                      CM/ECF NOTICE OF ELECTRONIC FILING

The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system on June 4, 2018 at the address(es) listed below:
              Adam S. Baker    on behalf of Creditor Michael E. Osborne, Sr. abakerlaw@sbcglobal.net,
               adam@bakerlaw.us;abakerlaw@gmail.com
              Alison L. Archer    on behalf of Interested Party    Lakeland Community College
               alison.archer@ohioattorneygeneral.gov,
               Trish.Lazich@ohioattorneygeneral.gov;angelique.dennis-noland@ohioattorneygeneral.gov
              Andrew M. Tomko    on behalf of Creditor   Tax Ease Ohio, LLC atomko@sandhu-law.com,
               bk1notice@sandhu-law.com
              Austin B. Barnes, III    on behalf of Creditor    Tax Ease Ohio, LLC abarnes@sandhu-law.com,
               bk1notice@sandhu-law.com
              Christopher J. Klym    on behalf of Creditor    Ohio Department of Taxation bk@hhkwlaw.com
              David T. Brady    on behalf of Creditor   Tax Ease Ohio, LLC DBrady@Sandhu-Law.com,
               bk1notice@sandhu-law.com
              Frederic P. Schwieg    on behalf of Debtor Richard M. Osborne fschwieg@schwieglaw.com
              Gregory P. Amend    on behalf of Creditor    First National Bank of Pennsylvania gamend@bdblaw.com,
               grichards@bdblaw.com
              Jeffrey C. Toole    on behalf of Interested Party Zachary B Burkons toole@buckleyking.com,
               young@buckleyking.com;heberlein@buckleyking.com


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                              Form ID: pdf801              Total Noticed: 13


The following persons/entities were sent notice through the court’s CM/ECF electronic mail (Email)
system (continued)
              John J. Rutter    on behalf of Creditor    Mentor Lumber & Supply Co. jrutter@ralaw.com
              Kirk W. Roessler    on behalf of Creditor    Estate of Jerome T. Osborne kroessler@walterhav.com,
               kballa@walterhav.com;slasalvia@walterhav.com
              Maria D. Giannirakis ust06     on behalf of U.S. Trustee    United States Trustee
               maria.d.giannirakis@usdoj.gov
              Matthew H. Matheney    on behalf of Creditor    First National Bank of Pennsylvania
               mmatheney@bdblaw.com, bhajduk@bdblaw.com
              Michael J. Sikora, III    on behalf of Creditor    Chicago Title Insurance Company
               msikora@sikoralaw.com, aarasmith@sikoralaw.com;mtroha@sikoralaw.com
              Michael S. Tucker    on behalf of Creditor    Citizens Bank, N.A. mtucker@ulmer.com
              Nathaniel R. Sinn    on behalf of Creditor    First National Bank of Pennsylvania nsinn@bdblaw.com,
               kslatinsky@bdblaw.com
              Rachel L. Steinlage    on behalf of Interested Party Zachary B Burkons rsteinlage@meyersroman.com,
               jray@meyersroman.com;mnowak@meyersroman.com
              Robert D. Barr    on behalf of Creditor    Chicago Title Insurance Company rbarr@koehler.law,
               rbarr@koehler.law
              Scott R. Belhorn ust35     on behalf of U.S. Trustee    United States Trustee
               Scott.R.Belhorn@usdoj.gov
              Stephen R. Franks    on behalf of Creditor    Bank of America, N.A. amps@manleydeas.com
              Timothy P. Palmer    on behalf of Creditor    The Huntington National Bank timothy.palmer@bipc.com,
               donna.curcio@bipc.com
                                                                                              TOTAL: 21




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   The court incorporates by reference in this paragraph and adopts as the findings
   and orders of this court the document set forth below. This document was signed
   electronically on June 4, 2018, which may be different from its entry on the record.



   IT IS SO ORDERED.                                    ENTERED UNDER ADMINISTRATIVE
                                                        ORDER NO. 02-10: TERESA D. UNDERWOOD,
                                                        CLERK OF COURT
                                                        BY: ____________________________
                                                            /s/ Michael Gaughan
   Dated: June 4, 2018                                      Deputy Clerk


                           UNITED STATES BANKRUPTCY COURT
                              NORTHERN DISTRICT OF OHIO
                                   EASTERN DIVISION


   IN RE                                       )                CASE NO. 17-17361
                                               )
   RICHARD M. OSBORNE,                         )                CHAPTER 11
                                               )
                         DEBTOR                )                JUDGE ARTHUR I. HARRIS


                ORDER AUTHORIZING EXAMINATION OF LAKE COUNTY
                TITLE, LLC PURSUANT TO RULE 2004(a) OF THE FEDERAL
                         RULES OF BANKRUPTCY PROCEDURE

           This matter is before the Court on the Motion of Chicago Title Insurance Company

   (“Chicago Title”) for an Order of this Court authorizing and directing the examination of Lake

   County Title, LLC (“Lake County Title”) under Rule 2004 of the Federal Rules of Bankruptcy

   Procedure (the “Motion”), and the averments in the Motion.

           IT APPEARING to the Court that it would be in the best interest of the within estate to

   authorize counsel for Chicago Title to proceed with the examination of Lake County Title under

   or by virtue of the authority granted in Rule 2004 of the Federal Rules of Bankruptcy Procedure.




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          IT IS THEREFORE ORDERED that Lake County Title is hereby ordered and directed to

   produce the following documents and items pursuant to Rule 2004 of the Federal Rules of

   Bankruptcy Procedure:

          (1) Information and/or documentation concerning transactions Lake County Title has

   handled that have in any way involved the Debtor, Richard M. Osborne, since December 17, 2017.

          (2) Information and/or documentation concerning transactions Lake County Title has

   handled that have in any way involved any entity in which the Debtor has an interest, including

   but not necessarily limited to the entities listed in Debtor’s Bankruptcy Schedules and/or Amended

   Bankruptcy Schedules since December 17, 2017.

          (3) Any and all information and/or documentation concerning any interest the Debtor,

   Richard M. Osborne, has in Lake County Title.

          (4) Any information and/or documentation regarding money, compensation, profits,

   proceeds, and/or remuneration paid to the Debtor, Richard M. Osborne, since December 17, 2017.

          (5) Information and/or documentation concerning any funds paid, remitted, and/or tendered

   to any entity in which the Debtor, Richard M. Osborne, has an interest, including but not

   necessarily limited to the entities listed in Debtor’s Bankruptcy Schedules and/or Amended

   Bankruptcy Schedules, since December 17, 2017.

          IT IS FURTHER ORDERED that Lake County Title shall produce the above documents

   and items on or before June 27, 2018, at the Office of Michael J. Sikora III, Sikora Law LLC, 737

   Bolivar Road, Suite 270, Cleveland, Ohio 44115.

          IT IS FURTHER ORDERED that an Officer Lake County Title with knowledge of the

   above matters shall appear for examination on July 6, 2018, at 10:00 a.m. EST, at the Office of

   Michael J. Sikora III, Sikora Law LLC, 737 Bolivar Road, Suite 270, Cleveland, Ohio 44115.

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                                               # # #

   Order Submitted By:

   /s/ Robert D. Barr
   Robert D. Barr (#0067121)
   KOEHLER FITZGERALD LLC
   1111 Superior Avenue East, Suite 2500
   Cleveland, Ohio 44114
   Phone: (216) 744-2739
   Fax: (216) 916-4369
   Email: rbarr@koehler.law

   Co-Counsel for Chicago Title Insurance Company


                                            Service List

   To be served via the Court’s Electronic Case Filing System on these entities and individuals
   who are listed on the Court’s Electronic Mail Notice List:

          Adam S. Baker, on behalf of Michael E. Osborne, Sr., at abakerlaw@sbcglobal.net

          Robert D. Barr, Attorney for Chicago Title Insurance Company, at rbarr@koehler.law

          Michael J. Sikora, III, Attorney for Chicago Title Insurance Company, at
          msikora@sikoralaw.com

          Michael S. Tucker, Attorney for Citizens Bank, N.A., at mtucker@ulmer.com

          Christopher J. Klym, Attorney for Ohio Department of Taxation, at bk@hhkwlaw.com

          Matthew H. Matheney, Attorney for First National Bank of Pennsylvania, at
          mmatheney@bdblaw.com

          Timothy P. Palmer, Attorney for The Huntington National Bank, at
          timothy.palmer@bipc.com

          John J. Rutter, Attorney for Mentor Lumber & Supply Co., at jrutter@ralaw.com

          Frederic P. Schwieg, Attorney for Richard M. Osborne, at fschwieg@schwieglaw.com



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          Jeffrey C. Toole, Attorney for Zachary B. Burkons, at toole@buckleyking.com

          Maria D. Giannirakis ust06, United States Trustee, at maria.d.giannirakis@usdoj.gov

          Scott R. Belhorn ust35, United States Trustee, at Scott.R.Belhorn@usdoj.gov

          Gregory P. Amend, Attorney for First National Bank of Pennsylvania, at
          gamend@bdblaw.com

          Nathaniel R. Sinn, Attorney for First National Bank of Pennsylvania, at
          nsinn@bdblaw.com

          Alison L. Archer, Attorney for Lakeland Community College, at
          alison.archer@ohioattorneygeneral.com

          David T. Brady, Attorney for Tax Ease Ohio, LLC, at DBrady@Sandhu-Law.com

          Andrew M. Tomko, Attorney for Tax Ease Ohio, LLC, at atomko@sandhu-law.com

   AND, by regular U.S. mail, postage prepaid, to the following:

          Richard M. Osborne
          7265 Markell Road
          Waite Hill, Ohio 44094

          Lake County Title, LLC
          Attention: Thomas R. Flenner, President
          306 High Street
          Fairport Harbor, Ohio 44077




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